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                                        November 3, 2021

Via ECF and by Email ChambersNYSDSeibel@nysd.uscourts.gov
                                                                          Mr. Facciponti is reappointed as
The Honorable Cathy Seibel                                                CJA counsel for Mr. Bamberg, with
The Hon. Charles L. Brieant Jr. Federal Building and                      the appreciation of the Court for
United States Courthouse                                                  taking the assignment.
300 Quarropas Street
White Plains, NY 10601-4150

       Re: United States v. Bamberg, 11 Cr. 626 (CS)

Dear Judge Seibel:

       I was previously CJA counsel for Leonard Bamberg in the above-referenced case for a
previously filed violation of supervised release which was resolved in July 2021. Recently, the  11/5/21
Court issued a summons for Mr. Bamberg to appear on November 22, 2021 at 3:30 p.m.
regarding new alleged violations of supervised release. Accordingly, given my prior familiarity
with the case, the undersigned respectfully requests to be re-appointed to represent Mr. Bamberg
in connection with the new specifications.


                                         Respectfully submitted,

                                         /s/ J.P.F.

                                         Joseph P. Facciponti



CC: AUSA Benjamin Gianforti




 New York     ♦      Washington, D.C.    ♦     Virginia    ♦    Chicago       ♦      San Francisco
